                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )       Case No. 1:09-CR-28
 vs.                                                 )
                                                     )
 JAHALA SANDERS                                      )       JUDGE COLLIER


                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on August 13, 2012, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision of U.S. Probation Officer Christa Heath and the
 Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present for the hearing
 included:

               (1)   AUSA Anne-Marie Svolto for the USA.
               (2)   The defendant JAHALA SANDERS.
               (3)   Attorney Myrlene Marsa for defendant.
               (4)   Deputy Clerk Kelli Jones.
               (5)   Probation Officer Christa Heath.

         After being sworn in due form of law the defendant was informed or reminded of her
 privilege against self-incrimination accorded her under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and she
 qualified for the appointment of an attorney to represent her at government expense. Federal
 Defender Services of Eastern Tennessee, Inc. was appointed to represent the defendant. It was
 determined the defendant had been provided with a copy of the Petition for Warrant for Offender
 Under Supervision and the Warrant for Arrest and had the opportunity of reviewing those
 documents with her attorney. It was also determined the defendant was capable of being able to
 read and understand the copy of the aforesaid documents she had been provided.

        AUSA Svolto called USPO Christa Heath as a witness and moved that the defendant be
 detained pending the revocation hearing.

                                             Findings

        (1) Based upon USPO Heath=s testimony, the undersigned finds there is probable
        cause to believe defendant has committed violations of her conditions of supervised
        release as alleged or set forth in the Petition.

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Case 1:09-cr-00028-CLC-SKL          Document 102         Filed 08/13/12    Page 1 of 2        PageID
                                          #: 255
      (2) The defendant has not carried her burden under Rule 32.1(a)(6) of the Federal
      Rules of Criminal Procedure, that if released on bail she will not flee or will not
      pose a danger to the community.

                                         Conclusions

      It is ORDERED:

      (1) The motion of AUSA Svolto that the defendant be DETAINED WITHOUT
      BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
      GRANTED.

      (2) The U.S. Marshal shall transport defendant to a revocation hearing before
      Judge Collier on Thursday, September 6, 2012, at 9:00 am.

      ENTER.


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                                           UNITED STATES MAGISTRATE JUDGE




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Case 1:09-cr-00028-CLC-SKL        Document 102         Filed 08/13/12    Page 2 of 2        PageID
                                        #: 256
